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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-60125-CIV-SCOLA/GOODMAN



                                                     /
   JIANGMEN BENLIDA
   PRINTED CIRCUIT CO., LTD.,

   Plaintiff,

   v.

   CIRCUITRONIX, LLC,

   Defendant.
                                                     /


           Motion for Extension of Time, from June 26th to July 14th, for Benlida to File
             Response to Defendant Circuitronix’s Motion for Summary Judgment

                  Pursuant to Rule 6 of the Federal Rules of Civil Procedure, plaintiff Jiangmen Benlida

  Printed Circuit Co., Ltd. respectfully requests a three-week extension of time to file a response to defendant

  Circuitronix’s motion for summary judgment. Benlida hereby states the following in support:

          1.       CTX filed its motion for summary judgment on June 9, 2023, and an amended

  motion for summary judgment on June 10, 2023. Benlida’s response is due June 26, 2023, as noted

  in the docket entry for the amended motion.

          2.       I am currently traveling in China, and will not return to my office until June 26th.

  My law firm is currently drafting a response to the motion; however, additional time is needed to

  respond, due to the voluminous nature of the documentary discovery that has been produced in this

  case, the breadth of the arguments made in support of the motion, and to my being unavailable this

  week to work closely with my colleagues on the opposition papers because of my pre-scheduled

  travel. Benlida requires additional time, in order to review all of the relevant discovery and cited
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  case law to craft a thoughtful response, and allow me time to work on the papers upon my return.

         3.       My colleague Richard Lerner reached out to CTX’s attorneys on June 14, 2023, to

  request an extension, to July 14, 2023, to submit the opposition papers. Circuitronix’s attorney

  Stephen Rosenthal refused, indicating that the reply would be pushed into time best spent on expert

  discovery and pretrial motions. When pressed for any other possible extension dates, Mr. Rosenthal

  indicated that an extension of even one day would not be practicable given his own travel plans.

  (Mr. Rosenthal’s position is stated more fully in the certification section below).

         4.       Accordingly, Benlida is forced to move for an extension on a unilateral basis, as

  Circuitronix has declined to grant any extension whatsoever.

         5.       Rule 6(b)(1)(A) of the Federal Rules of Civil Procedure addresses extension of

  time to file documents with the court. The rule provides that “an act may or must be done within a

  specified time, the court may, for good cause, extend the time with or without motion or notice if

  the court acts, or if a request is made, before the original time or its extension expires.” Broad

  discretion is given to district courts to grant such requests, particularly when the request is made

  before the original deadline’s expiration. See, e.g., Hetzel v. Bethlehem Steel Corp., 50 F.3d 360,

  367 (5th Cir. 1995).

         6.       The requested extension will not result in any prejudice to the parties or to the court,

  nor will it impact or require revision of any existing case schedule or impair the rights of the parties,

  as we are now in the expert discovery phase of the case, and the next due date is June 27th, by

  which date Benlida is required to submit its rebuttal expert reports, in response to defendant

  Circuitronix’s expert reports, which were served on May 8th.

         7.       Benlida requests the extension in good faith, not for any improper or dilatory

  purpose. This is Benlida’s first request for an extension of time to respond to Circuitronix’s motion

  for summary judgment.
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                                             Certification
         Counsel for the parties met and conferred, via email, regarding Benlida’s request for an

  extension of time to submit its responsive papers, but Circuitronix’s counsel advised that it could

  not consent to even a one-day adjournment of Benlida’s time within which to submit its

  opposition papers. Specifically, Richard Lerner, emailed Stephen Rosenthal on June 14, 2023 to

  request consent to a July 14th due date for Benlida’s opposition to the motion. Mr. Rosenthal

  responded on June 14, 2023, indicating that his client could not consent to any extension at all, as

  it would push Circuitronix’s reply into a time in which the parties would focus on expert

  discovery and pretrial motions. Mr. Lerner sent another email on June 16, 2023 to see if any

  compromise could be reached, but Mr. Rosenthal responded on June 16, 2023, indicating that

  Circuitronix would not extend any time, as he would be vacationing in Maine on July 4th

  weekend and would be flying back to Miami on July 7th. Accordingly, the parties are at an

  impasse, and judicial involvement is necessary.

                                             Conclusion
         Accordingly, plaintiff Benlida respectfully requests that the court grant this motion and

  grant leave to file a response to Circuitronix’s motion for summary judgment on or before July

  14, 2023.

  Dated: June 19, 2023
         New York, New York                                   Respectfully submitted,

                                                              MAZZOLA LINDSTROM LLP
                                                              Attorneys for Plaintiff Benlida

                                                              By: /s/ Jean-Claude Mazzola
                                                              Jean-Claude Mazzola
                                                              1350 Avenue of the Americas,
                                                              2nd Floor
                                                              New York, New York 10019
                                                              646.250.6666
                                                              jeanclaude@mazzolalindstrom.com


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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true copy of the foregoing has been served via electronic mail
  on Circuitonix’s counsel, registered CM/ECF, users on June 19, 2023.

                                             By: /s/ Jean-Claude Mazzola
                                                    Jean-Claude Mazzola




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